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Confirming what we discussed in yesterday's meet-and-confer

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Thu 8/26/2021 5:19 PM

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Elissa, Anthony, and Rachel,

Thank you for taking the time to meet with us yesterday afternoon. We wanted to confirm what we discussed to prevent confusion in the
future.

First, we discussed completing the depositions that have already been noticed. Plaintiffs agreed to your request to extend the deadline to
finish those depositions to September 24, so long as we can schedule other depositions in the meantime. Defendants were amenable to
that, subject to the issues discussed below.

Second, we discussed the status of ESI discovery. Anthony said that Defendants would provide us with an update next week as to when we
can expect to receive emails and other electronic communications. Plaintiffs emphasized the need for those documents ASAP and stated
that it would be unacceptable to receive the first emails in the case in October. Defendants agreed that those documents would be
produced as soon as possible. Anthony suggested having a call next week or soon thereafter to discuss the best way to produce these
documents. Plaintiffs are always happy to have more calls.

Third, we discussed the commencement of non-line-level depositions. Plaintiffs agreed to provide a list of deponents we would be ready to
depose in the first two weeks of September, even without any production of emails. We will provide you that list by next

Wednesday. Plaintiffs stated a willingness to abide by a modified "Bellamy protocol" for the depositions of DeBlasio, Monahan, and Shea:
Specifically, Plaintiffs would identify the attorney(s) who would be doing the questioning and the general topics to be discussed, subject to
the understanding that those topics would not limit Plaintiffs’ questioning. You did not identify other deponents for whom you wanted to
apply the same protocol, although in an email from earlier today, you stated your position that such a protocol should apply to every
deponent listed on Plaintiffs’ June 9, 2021 and August 26, 2021 notices, except Captain Hagestad and Lt. Hardell. As we discussed, we will
provide a counter-proposal by next Wednesday. For your reference, we will re-forward the email we had previously provided that gives
more detail about our reasons for wanting to depose these witnesses.

Fourth, we discussed the 30(b)(6) notice. Defendants asserted that the topics in the 30(b)(6) would be duplicative of certain fact witnesses.
Defendants agreed to let Plaintiffs know if they agree to allow high level officers' depositions to be binding upon the City of New York. We
agreed that we are at an impasse regarding your objections to the 30(b)(6) notice except with respect to the information requested about
emails and ESI (Topic 5); we will assess our need for a 30(b)(6) deposition on those issues after we see Defendants’ email production.

Thanks,
Ali

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she/her

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